Case 1:03-cv-OlllO-STA Document 35 Filed 06/22/05 Page 1 of 2 Page|D 42

@SBAO 85 (Rcv. 8/98) Notice, Consent, and Ordcr ofReference _ Exercise of Jurisdiction by a United States Magistrate .ludgc

UNITED STATES DISTRJCT COURT

 

 

‘..J`§)€‘-¢-\-L'r\ j District of '.‘""_1_{;¢'\¢-\€55»@-€_.
_)'.. mmt,\ W i%w»\v~e cwa NorICE, CONSENT, AND ORDER OF REEERENCE -_
.`;& ;;‘,{ am 503 t-`e .':>t.\+ia<_ EXERCISE OF JuRisDICTION BY A UNiTED_'STAT)E$'
W ‘ Piamrirr MAGISTRATE JUDGE
v. ,
/\zu_{>@.’Z-\~ &C--'Lr\~€b `M DO%OSQH- Case Number: \._0'5- \ \ \O ’ _l_ij n
g gc ap -Tg,ccc,v_. SCL\\)GL§£ l "_'Er\c.
Defendant

NOTICE 0F AvAILABILITY 0F A UNITED STATES MAGISTRATE JUI)GE
T0 EXERCISE JURISDICTION

ln accordance with the provisions of 28 U.S.C. §636(c), and Fed.R.Civ.P. 73, you are notified that a United States
magistrate judge of this district court is available to conduct any or all proceedings in this case including a jury or nonjury trial,

and to order the entry of a final judgment Exercise of this jurisdiction by a magistrate judge is, however, permitted only if all
parties voluntarily consent.

You may, without adverse substantive consequencesJ withhold your consent, but this will prevent the court’s jurisdiction
from being exercised by a magistrate judge. If any party withholds consent, the identity of the parties consenting or withholding
consent will not be communicated to any magistrate judge or to the district judge tc whom the case has been assignedl

An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States court of appeals for
this judicial circuit in the same manner as an appeal from any other judginth oi` this district court.

CoNsENT r0 THE EXERCISE OF JUR!SDlCTION BY A UNITEI) STATES MAGISTRATE JUDGE

ln accordance with provisions oi`28 U.S.C. §636(c) and Fed.R.Civ,P. 7`3,the parties in this case consent to have a United
States magistrate judge conduct any and all proceedings in this case, including the trial, order the entry of a final judgment, and
conduct all post-judgment proceedings

Party Represented Signatur s , Date /___
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ORDER or REFERENCE

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IT IS ORDERED that this ease be referred to Jud e
United States Magist:rate Judge, to conduct all proceedings and order the entry of judgment in acco
§636(¢) and Fed.R.Civ.P. 73.

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7 ' 0 Date y United States District Judgc
NOTE; RETURN THIS FORM TO THE CLERK OF T E COURT ONLY IF` ALL PART]ES HAVE CONSENTED
ON THIS FORM TO THE EXERCISE OF JURlSDICTION BY A UNITED STATES MAGlSTRATE .TUDGE.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:03-CV-01110 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable S. Anderson
US DISTRICT COURT

